Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 1 of 8




    EXHIBIT 41
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 2 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 3 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 4 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 5 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 6 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 7 of 8
Case 3:22-cv-03131-JCS Document 85-8 Filed 11/17/23 Page 8 of 8
